              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                           1:21-cv-00270

Rupa Vickers Russe            )
                 Plaintiff,   )     PLAINTIFF’S OBJECTION TO
           v.                 )    ATTORNEYS LONG AND
                              )          ANDERSON
Cindie Harman,                )    NOTICES OF APPEARANCE
               Defendant.     )
__________________________________________________________________

NOW COMES Plaintiff, by and through undersigned counsel, and files this Motion
in response to Attorneys Robert Long, Jr. and Phillip Scott Anderson’s Notice of
Appearances.

Plaintiff was first notified of both Attorneys Long and Anderson’s intent to
represent Defendant on Friday March 25, 2022 when they filed their notice of
appearances in this Court’s CM/ECF system.

Both Attorneys Long and Anderson are members of the law firm Van Winkle, the
same law firm who represented Plaintiff in a case in 2019, the subject of which
Defendant made false, inaccurate statements about Plaintiff on her blog, and which
directly relate to this lawsuit.

In 2019, Plaintiff was a Defendant in a [REDACTED] civil case involving her 15
year old daughter. Plaintiff was represented by Katherine Fisher, Esq. who was
then and remains today an Attorney in practice at the Van Winkle Law Firm.
During her representation of Plaintiff, Attorney Fisher appeared in court on behalf
of Plaintiff and engaged in settlement negotiations with the Plaintiff’s daughter and
her court appointed representative, her grandmother. During Attorney Fisher’s
representation of Plaintiff, she communicated with other staff members in the Van


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Winkle law firm regarding privileged information. Following a hearing, the claims
were held to be without merit, and Plaintiff prevailed.

On Friday, March 25, 2022 Plaintiff contacted Attorney Fisher by email to notify
her of the conflict. On Monday, March 25, 2022 Plaintiff, by and through her
counsel, notified both Attorneys Long and Anderson of the conflict.

Plaintiff objects to the appearance of both Attorneys Long and Anderson, pursuant
to North Carolina Rules of Professional Conduct 1.9, as Van Winkle is in
possession of information that will likely disadvantage Plaintiff in this matter; and
pursuant to 1.10(2), as the matter is “substantially related” to the defamatory
statements Defendant made on her blog about Plaintiff, and there is a remaining
Attorney in the firm who has information protected by Rules 1.6 (confidentiality)
and 1.9(c) that is material to the matter.

For this substantial reason, Plaintiff objects to the appearance of Attorneys Robert
Long, Jr and Phillip Scott Anderson in this matter.

Respectfully submitted this the 6th of April, 2022,


      BY:                                    /s/Brooke Scott
                                             Brooke Scott
                                             Attorney for Plaintiff
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                                             2428 Bay Harbor Drive
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                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this date she served a copy of the
foregoing PLAINTIFF’S REPLY TO ATTORNEYS LONG AND ANDERSON
NOTICES OF APPEARANCES upon the Defendant listed below by filing the
documents with the CM/ECF’s system which Defendant’s Attorneys of record,
Robert Long, Jr. and Phillip Scott Anderson are authorized, registered users.

This the 6th of April, 2022.

      BY:                                  /s/Brooke Scott
                                           Brooke Scott
                                           Attorney for Plaintiff
                                           N.C. State Bar No.: 55391
                                           2428 Bay Harbor Drive
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